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Form M-200

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

In re: Case No. 22-60043
FREE SPEECH SYSTEMS (Chapter 11)
LLC

Debtor(s)

MOTION FOR RELIEF FROM THE STAY 1AND CO-DEBTOR STAY, IF APPLICABLE! REGARDING
EXEMPT PROPERTY

THIS IS A MOTION FOR RELIEF FROM THE AUTOMATIC STAY. IF YOU OBJECT TO THE GRANTING OF RELIEF
FROM THE AUTOMATIC STAY, YOU SHOULD CONTACT THE MOVANT IMMEDIATELY TO TRY TO REACH AN
AGREEMENT. IF YOU CANNOT REACH AN AGREEMENT, YOU MUST FILE A WRITTEN RESPONSE AND SEND A
COPY TO MOVANT NOT LATER THAN AUGUST 9, 2023 AND YOU MUST ATTEND THE HEARING.

THE COPY SENT TO THE MOVANT MUST BE DELIVERED BY HAND OR ELECTRONIC DELIVERY IF IT IS SENT
LESS THAN 7 DAYS PRIOR TO THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE HEARING MAY
BE AN EVIDENTIARY HEARING AND THE COURT MAY GRANT OR DENY RELIEF FROM THE STAY BASED ON
THE EVIDENCE PRESENTED AT THIS HEARING. IF A TIMELY OBJECTION IS FILED, THE COURT WILL
CONDUCT A HEARING ON THIS MOTION ON AUGUST 24, 2023 AT 10:00 A.M. IN COURTROOM 4tH, 515 Rusk, luumen.
TX 77002.

1. This motion requests an order from the Bankruptcy Court authorizing the person filing this motion
to foreclose on or to repossess the property that is identified in paragraph 3.
2. Mtwara: Ally Bank

3. Movant, directly or as agent for the holder, holds a security interest in 2020 Chevrolet Tahoe Utility
4D LT 4WD 5.3L V8, VIN # 1GNSKBKCXLR288493.

4. Movant has reviewed the schedules filed in this case. The property described in paragraph 3 is
claimed as exempt by the debtor. Movant does not contest the claimed exemption.

5. Type of collateral (e.g., Horne, Manufactured Home, Car, Truck, Motorcycle): Automobile.
6. Debtor's scheduled value of property: N/A.

7. Movant's estimated value of property: $47.425.00.

8. Total amount owed to movant: $51.668.54.

9, Estimated equity (paragraph 7 minus paragraph 8): $ _

10. Total pre and post-petition arrearages: $20.843.44.

11. Total post-petition arrearages: $17.031.07.

12. Amount of unpaid, past due property
taxes, if applicable: $

13. Expiration date on insurance policy, if applicable:

14. v ! Movant seeks relief based on the debtor(s)' failure to make payments. Debtor's)’ payment
history is attached as exhibit "D." Movant represents that the attached payment history is a current payment history
reflecting all payments, advances, charges and credits from the beginning of the loan. Movant further represents that
the payment history is self-explanatory or can be interpreted by application of coding information that is also

attached. Movant acknowledges that the Court may prohibit the use of parole evidence to interpret a payment history
that does not satisfy these representations.

15. S . Movant seeks relief based on the debtor(s)' failure to provide a certificate of insurance
reflecting insurance coverage as required under the debtor's pre-petition contracts.

16. If applicable: Name of Co-Debtor:

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17, Based on the foregoing, movant seeks termination of the automatic stay [and the co-debtor stay, if applicable] to
allow movant to foreclose or repossess the debtor(s)' property and seeks to recover its costs and attorneys’ fees in an
amount not to exceed the amount listed in paragraph 9.

1& Movant certifies-that prior to. Ming- this motion an attempt was Made" to confer with the- Debturtel cuonst.4 (or
with Debtor(s), if pro se) either by telephone, by e-mail or by facsimile, by the following person on the following
date and time: April 25, 2023 via email to Raymond William Battaglia, and via telephone to Kyung Shik Lee.

.An agreement could not be reached. If requested by debtor or debtor's counsel,
a payment history in the form attached to this motion was provided at least two days, excluding
intermediate weekends and holidays, before this motion was filed.

ssr Patrick M. Lynch

Movant's counsel signature

Name: Patrick M, Lynch

State Bar No.: #24065655

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Certificate of Service

I certify that on July 26 2023, I caused to be served a true and correct copy of the foregoing Motion for
Relief from stay by electronic mail or by first class mail with postage prepaid on the following:

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Houston, TX 77002

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